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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

RAUL RICARDO TERAN, et al.,

Defendant.                                              No. 07-30136-DRH

                                      ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Raul Ricardo Teran’s motion for

continuance (Doc. 403). Defendant argues that his attorney was appointed in July

and he has received over 1,500 documents as well as additional discovery recently

provided by the Government and his attorney needs additional time in order to go

over the documents and prepare for trial. The Government does not object to the

motion. The Court, being fully advised in the premises, finds that Defendant Teran

needs additional time to prepare for trial.

             The Court GRANTS Defendant Teran’s motion for continuance (Doc.

403). The Court CONTINUES the jury trial scheduled for October 5, 2009 until

November 30, 2009 at 9:00 a.m. This continuance of trial applies to all non-

moving Defendants as well. United States v. Baker, 40 F.3d 154, 159 (7th Cir.

1994) (“‘Under § 3161(h)(7), the excludable delay of one defendant may be

ascribed to all defendants in the same case, absent severance.’”) (quoting United

States v. Tanner, 941 F.2d 574, 580 (7th Cir. 1991), cert. denied, 502 U.S.
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1102, 112 S. Ct. 1190, 117 L.Ed. 2d 432 (1992)).

             In continuing the trial, the Court notes that one of the co-defendants,

Jesus Manuel Saavedra, remains a fugitive. Saavedra is still at large and has not yet

been arraigned. Further, no motion for severance of the remaining defendants has

been filed or granted in this case, meaning all Defendants adhere to the same Speedy

Trial Act count. Therefore, in actuality and the state of the law is that the Speedy

Trial “clock” does not begin to run until the last co-defendant is arraigned, in this

case, as there is one fugitive, the 70-day window for conducting this trial has not yet

come into play under the Speedy Trial Act. See United States v. Larson, 417 F.3d

741, 745 n.1 (7th Cir. 2005) (“In the typical joint trial, the Speedy Trial clock

begins when the last co-defendant is arraigned.”) (citing United States v.

Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995); Henderson v. United States,

476 U.S. 321, 323 n.2 (1986); 18 U.S.C. § 3161(h)(7); United States v.

Souffront, 338 F.3d 809, 835 (7th Cir. 2003) (The Court found that the

seventy-day clock commenced the day a fugitive-also the final co-defendant in

the case - was arraigned). Since the Speedy Trial clock has not begun to run, there

is no need to account for exclude time due to trial delays, such as when a trial is

continued.

             However, in the alternative to the finding that the Speedy Trial clock has

yet to commence, the Court states that the reasons stated in the motion to continue

justify reasons for granting a continuance and excluding time under the Speedy Trial



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Act. The Court finds that pursuant to 18 U.S.C. § 3161 (h)(7)(A), the ends of

justice served by the granting of such a continuance outweigh the best interest of the

public and all Defendants in a speedy trial. To force a Defendant to trial without

adequate time to prepare would constitute a miscarriage of justice. Therefore, the

Court alternatively finds reasons for granting a continuance as sought in the motion

(Doc. 403). The Court hereby CONTINUES the jury trial as to all Defendants

scheduled for October 5, 2009 until November 30, 2009 at 9:00 a.m. The time

from the date Defendant’s motion was filed, September 18, 2009, until the date on

which the trial is rescheduled, November 30, 2009, is excludable for purposes of a

speedy trial.

                Should either party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.



                IT IS SO ORDERED.

                Signed this 21st day of September, 2009.



                                                /s/      DavidRHer|do|
                                                Chief Judge
                                                United States District Court




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